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                                         U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                       November 13, 2019



BY ECF
The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:       United States v. Michael Avenatti,
                 19 Cr. 373 (PGG)

Dear Judge Gardephe:

       The Government respectfully writes to advise the Court that the grand jury returned a
superseding indictment earlier today in the above-referenced case, and to request that time be
excluded under the Speedy Trial Act until the trial date of January 21, 2020.

       The revisions reflected in the S1 Indictment are, in sum:

             •   Counts One and Two of the original indictment, which contained conspiracy
                 charges, have been omitted, and the remaining counts have been renumbered
                 accordingly.

             •   A count charging honest services wire fraud, in violation of 18 U.S.C. §§ 1343 and
                 1346, has been added (Count Three). The proof underlying this charge is
                 substantially the same as that underlying the counts in the original indictment (and
                 the other counts in the S1 Indictment), and the Government does not have additional
                 discovery to produce specific to this charge.

             •   Certain language has been added or modified in the speaking portion of the
                 indictment, including regarding the new wire fraud charge.

       Enclosed please find a courtesy copy of the S1 Indictment.
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Honorable Paul G. Gardephe
United States District Judge
November 13, 2019
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        The Government, with the consent of the defendant, respectfully requests that time be
excluded from today until January 21, 2020 under the Speedy Trial Act, for the same reasons set
forth by the Court in its Order dated October 10, 2019 (Dkt. No. 67). The parties also consent to
defer arraignment on the S1 Indictment until the next pretrial conference.



                                                    Respectfully submitted,

                                                    GEOFFREY S. BERMAN
                                                    United States Attorney

                                            By:     /s Matthew D. Podolsky
                                                    Matthew D. Podolsky
                                                    Daniel C. Richenthal
                                                    Robert B. Sobelman
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                                                    (212) 637-1947/2109/2616

Enclosure

cc:    (by ECF)

       Counsel of Record
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